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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 16 CR 438–1
         v.
                                           Judge John Z. Lee
ARTEM VAULIN, also known as “tirm”

                           AGREED STATUS REPORT

      The United States of America, by its attorney, JOHN R. LAUSCH, JR.,

submits the following status report: Defendant is still undergoing extradition

proceedings in Poland, and the parties are not currently aware of a timetable for a

resolution of those proceedings. Counsel for the government has contacted

defendant’s local counsel, who indicated that he agreed with this report.



Dated:        April 12, 2019           Respectfully submitted,

                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

                                By:    /s/ Devlin N. Su
                                       DEVLIN N. SU
                                       SEAN DRISCOLL
                                       Assistant United States Attorneys
                                       219 South Dearborn Street, 5th Floor
                                       Chicago, Illinois 60604
                                       (312) 886-0667

                                       RYAN DICKEY
                                       KEBHARU SMITH
                                       Criminal Division, Computer Crime and
                                       Intellectual Property Section
                                       1301 New York Avenue NW
                                       Washington, DC 20005
                                       (202) 616-1509
